        Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 1 of 17



KASS HARSTAD (Bar No. 11012)
ERIKA BIRCH (Bar No.10044)
STRINDBERG & SCHOLNICK, LLC
675 East 2100 South, Suite 350
Salt Lake City, Utah 84106
tel: 801.359.4169
fax: 801.359.4313
kass@utahjobjustice.com
erika@idahojobjustice.com

Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION



 LARAE WILLIAMS,
                                                              COMPLAINT
         Plaintiff,                                        AND JURY DEMAND

 vs.
                                                   Case No. 4:19-cv-00103

 WALMART, INC., a Delaware corporation,            Judge: David Nuffer

         Defendant.


       Plaintiff Larae Williams, (“Employee” or “Plaintiff”), by and through her attorneys,

hereby complains against Defendant Walmart, Inc. (“Walmart” or “Defendant”), as follows.

                             I.     PRELIMINARY STATEMENT

       1.       This suit is brought by Larae Williams, a female employee of Walmart employed

during and between the years of 2008 and 2010 who was subjected to gender discrimination by

Defendants in violation of Title VII of the Civil Rights Act of 1964, as amended and codified at

42 U.S.C. § 2000e, et seq. (“Title VII”).
        Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 2 of 17



       2.      Plaintiff seeks all available remedies including damages, attorneys’ fees, costs,

and interest, and compensatory damages.

       3.      Over fifteen years ago, the Dukes v. Wal-Mart class action commenced as a

national class against Wal-Mart Stores, Inc., the largest retailer in the world and the largest

private employer in the United States. The action alleged that female employees in Wal-Mart and

Sam’s Club retail stores were discriminated against based on their gender, with respect to pay

and promotion to management track positions, in violation of Title VII.

       4.      In 2004, the United States District Court for the Northern District of California

certified a national class of female employees challenging retail store pay and management

promotion policies and practices under Fed. R. Civ. P. 23(b)(2). On June 20, 2011, the United

States Supreme Court reversed that class certification order, holding that the national class could

not be certified based on the facts in the record.

       5.      On June 24, 2011, the plaintiffs in Dukes moved to extend tolling of the statute of

limitations in the Northern District of California. On August 19, 2011, the court granted

plaintiffs’ motion in part and extended the tolling period awarded to former class members under

American Pipe and Construction Co. v. Utah, 414 U.S. 538, 554 (1974) for a limited time, and

set forth the dates by which former class members had to file Charges of Discrimination with the

Equal Employment Opportunity Commission (“EEOC”).

       6.      All former class members who had never filed an EEOC charge had until May 25,

2012, to file charges in states with 300 day limits.

       7.      In accordance with these deadlines, Ms. Williams filed a Charge of

Discrimination with the EEOC on May 24, 2012 alleging sex discrimination, and she filed an

Amended Charge of Discrimination on August 14, 2012.



                                                     2
         Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 3 of 17



         8.     The EEOC issued Ms. Williams’ individual right to sue notice on September 23,

2019, and Ms. Williams received the notice On September 26, 2019. Ms. Williams has filed this

Complaint within the 90 days.

         9.     Ms. Williams has therefore exhausted her administrative remedies and complied

with the statutory prerequisites of Title VII by timely filing EEOC charges of discrimination.

         10.    The relevant time period in this action for Plaintiff’s claims is based on the

limitations period from Dukes. The limitations period starts on December 26, 1998, which is 300

days before the earliest charge filed with the EEOC by a former member of the Dukes class, and

runs through the date of trial.

                                         II.     PARTIES

         11.    At all times relevant to the Complaint, Ms. Williams resided in the State of Utah,

and was employed by Walmart at Store # 1439 in Washington, Utah.

         12.    Formerly, Ms. Williams was named Larae Farmer.

         13.    Defendant Walmart is a massive corporation, incorporated under the laws of

Delaware, operating within the State of Utah during all times relevant to this complaint.

         14.    In February of 2018, Walmart changed its name from Walmart Stores, Inc. to

Walmart, Inc.

                             III.    JURISDICTION AND VENUE

         15.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, because

Ms. Williams is bringing claims for violations of federal law.

         16.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), because all of the

employment practices alleged to be unlawful were committed within the jurisdiction of this

Court.



                                                  3
            Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 4 of 17



                               IV.    GENERAL ALLEGATIONS

Organizational Structure and Hierarchy

        17.      In the time period relevant to this lawsuit, Walmart retail operations were divided

geographically into six Walmart divisions, each consisting of approximately six regions. Each

region was split into multiple districts. Approximately seven to ten stores were assigned to each

district.

        18.      All stores typically had the same or similar job categories, job descriptions and

management hierarchy. At the bottom of the ladder, the primary entry-level hourly positions

were Cashier, Sales Associate, and Stocker.

        19.      The first step above an entry-level job was an hourly supervisor position,

including Department Manager, Customer Service Manager and Support Manager. The next step

up was Management Trainee (“MIT”), a four-to-five-month program that prepared employees to

be Assistant Managers, a salaried position. Each store had several Assistant Managers. The next

level was Co-Manager, a position used only in larger stores, and then Store Manager.

        20.      In years prior to Ms. Williams’ employment, from 1998-2004, Store Managers set

pay for hourly employees following guidelines governing compensation. Each Store Manager

reported to their District Manager, and in order to maintain a consistent administration of the pay

guidelines, certain hourly pay decisions were reviewed by the District Manager for approval.

Thus, the Store Managers received regular feedback from the District Managers about their

decision making.

        21.      District Managers reported to the Regional Vice President (“RVP”). In addition to

the formal feedback from District Managers to Store Managers, both the RVP and District

Managers spent a large amount of time touring stores and talking with the Store Managers in



                                                  4
         Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 5 of 17



those stores. Similarly, the RVP held regular in-person meetings and conference calls with all the

District Managers. These regular meetings touched on many aspects of store operations,

including people issues. Thus, there was a constant stream of communications with district and

regional management that provided feedback to Store Managers about their hourly compensation

decisions and guidance about how Walmart regional management expected them to carry out

their responsibilities.

        22.     The RVP also had overall responsibility for pay increases for Assistant Managers

and had influence over promotions into MIT positions.

        23.     Each Region also had at least one Regional Personnel Manager (“RPM”), who

was responsible for promotion into the MIT program and starting pay for MIT and Assistant

Managers.

Pay Discrimination

        24.     During the years prior to Ms. Williams’ employment, Walmart set compensation

of store-based employees using a common set of guidelines, which Walmart’s managers applied

consistently. The pay guidelines established basic standards for setting pay rates at hire and

subsequent pay adjustments for hourly and salaried employees.

        25.     Walmart’s compensation policies prior to June 2004 – including its policies of

using a set of prescribed factors to set starting pay for hourly associates at a pay rate above the

minimum rate, granting discretion to Store Managers to set starting pay, permitting them to

evaluate and weight the prescribed factors as they chose, failing to require those Store Managers

to document the reasons for setting starting pay and merit increases as they did, and setting pay

adjustments based on the associate’s prior pay – had an adverse impact upon its female

employees.



                                                 5
        Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 6 of 17



       26.     Until June 2004, the RPM, RVP, and District Managers received regular reports

about compensation for hourly and salaried employees, showing that female employees were

paid less than men on average. These managers therefore had knowledge of the compensation

discrimination present in the stores over which they had authority.

       27.     In 2004, Walmart introduced a new pay structure, in which many jobs which had

previously been in one pay class were assigned to separate classes depending on department. Pay

rates differed depending on the pay class in which an hourly employee worked, and therefore the

department in which that hourly employee worked.

       28.     The proportion of women in Walmart’s departments varied greatly. Many jobs in

departments in which women were over-represented were assigned to lower job classes, while

those same job titles in departments over-represented by men were assigned to higher job

classes. Walmart’s 2004 pay restructuring had an adverse impact on its female employees.

       29.     In 2005, Walmart started giving newly hired employees “credits” for prior work

experience. Because each credit was worth more to employees in higher job classes, the

application of this credit policy exacerbated the pay disparities and had an adverse impact on

female employees.

       30.     Then, in 2006, Walmart added a cap on the pay permitted for each job class,

further impacting the pay of women relegated to the lower job classes, which had lower pay

caps. This also had an adverse impact on female employees.

       31.     Though Walmart made changes to its pay rates and pay decision-making

structure, Walmart continued to discriminate against women by paying them less than their male

counterparts throughout Ms. Williams’ period of employment.




                                                6
        Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 7 of 17



       32.    As a result of the policies referenced above, women who held hourly positions in

Store #1439 were regularly paid less than similarly-situated men, although, on average, those

women had more seniority and higher performance ratings than their male counterparts.

Promotion Discrimination

       33.    Management Track Positions Below Assistant Manager - Support managers are

the highest level hourly supervisory positions at Walmart. Support managers assume the duties

of Assistant Managers in an Assistant Manager’s absence. Employees in these positions are often

groomed for further advancement. The vast majority of support manager vacancies are not

posted or otherwise communicated to hourly associates within the store. There has been no

formal application process for selection for these positions, and no job-related criteria for

selecting employees for promotion to support manager. Additionally, although it is not a true

“management” position, department manager is often a necessary step for employees hoping to

work their way into salaried management. Women applying for department manager positions

are often subjected to severe gender stereotyping, and are rejected out of hand for most openings

in “masculine” departments such as sporting goods, hardware, etc.

       34.     Promotion to Management Trainee - Entry into the MIT Program is a

requirement for advancement into Assistant Manager and other salaried management positions.

Prior to 2003, there was no application process or job posting for MIT positions. Hourly

employees were not provided any information regarding how to enter management, or what the

requirements or qualifications were for entering management, or how to apply for the MIT

Program.

       35.     Walmart’s established criteria for the MIT program prior to 2003 included

willingness to relocate. Willingness to relocate was a factor known to deter women from



                                                7
        Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 8 of 17



pursuing such positions and which Walmart executives acknowledged was not justified by

business necessity.

       36.     In January 2003, Walmart instituted a posting system for entry into the MIT

Program. This system was used through 2006, and positions were posted for one week, a few

times per year. This posting system required candidates to agree to certain job conditions,

including (1) assignment to a store up to a one-hour drive from home; (2) travel for up to six

weeks; and (3) replacing the requirement that all candidates be willing to relocate with a

statement that the greater geographic area an individual would move to, the more likely they

would be promoted. All three factors would be more likely to discourage women than men, in a

manner similar to the prior relocation requirement. Notably, travel assignments were filled on a

voluntary basis, so stating that six weeks of travel would be required was not a fair

representation of the actual job requirements.

       37.     Starting in 2007, Walmart began using a new system for all management

promotions, including MIT. This system permitted employees to register in advance for the

positions and geographic areas in which they were interested. Every vacancy was expected to be

posted with a “requisition” which automatically applied the minimum qualifications Walmart

required for the position to the group of those who had expressed interest in the position within

that geographic area, and presented the hiring manager with a set of candidates. It was

particularly common for managers to post a position, see who the candidates were, and then

close the posting without selecting anyone because the manager’s pre-chosen candidate was not

included in the pool (“pre-selection”).

       38.     Both before and after Walmart posted MIT positions, the selection process

involved screening by District Managers and approval of selections by the RPM. In 2003, in



                                                 8
        Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 9 of 17



addition to posting, Walmart adopted standardized interview questions, which it used through

2009.

        39.    The District Managers and RPM were provided uniform guidelines setting

minimum eligibility criteria for promotion into the MIT Program, including minimum tenure,

age (18 years or older), absence of current “active” discipline, satisfactory recent performance

evaluations, and willingness to relocate. Yet no job-related criteria were required for selecting

individuals from the pool of employees who meet these minimum criteria.

        40.    Employees selected into the MIT Program are required to transfer from their

stores and often their districts as they enter training and Assistant Manager positions, subject to

very limited exceptions that must be approved by the RPM and RVP.

        41.    Despite the changes to the MIT promotion process, two things remained

consistent barriers to women: (a) a refusal to post or a system to circumvent the purpose of

posting to choose a preferred candidate identified prior to posting (“pre-selection”); and (b)

requiring candidates to be willing to relocate, or to accept comparable conditions on travel and

commuting distance. These policies had a disparate impact on female candidates.

        42.    Management-track promotional policies and practices have denied interested and

qualified women equal access to promotional opportunities because such opportunities are not

posted, there is not an open application system, and employees are not informed of the criteria

for promotion. Moreover, managers do not require or use valid, job-related factors in making the

promotion selections within the Region. Nor does Walmart specify the weight that should be

accorded any requirements for promotion. As a consequence, qualified women have been denied

equal access to promotions because of their gender.




                                                 9
       Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 10 of 17



       43.     Managers have not documented, and Walmart has not tracked, the reasons for

selecting particular employees for promotion into management. Managers have not documented,

and Walmart has not tracked, which employees have been denied consideration for promotion

because of their inability to comply with these relocation, travel, and scheduling requirements.

       44.     Walmart's policies, including its failure to require managers to base promotion

decisions for individual employees on job-related criteria, its refusal to post job openings, and

the conditions placed on applicants for the MIT program that they be willing to relocate, have

had an adverse impact upon its female employees.

       45.     Promotion to Co-Manager - The RVP, with input from RPM and District

Mangers, selects Co-Managers. The majority of Co-Manager promotions are transfers across

district lines. Co-Manager openings were rarely posted and there was no formal application

process for such positions during many of the relevant years. While there have been minimal

eligibility requirements for promotion to Co-Manager, such as satisfactory performance and

willingness to relocate, there are no job-related criteria for making selections among those who

meet the minimum criteria or for determining which store to assign to a Co-Manager.

       46.     Females have also been far less likely than their male counterparts to receive

promotion to management track positions, including support manager, MIT and Assistant

Manager, Co-Manager, and Store Manager positions, despite the fact that they have had equal or

better qualifications than male counterparts who have been promoted.

       47.     Female employees must also wait significantly longer to be promoted into

management track positions than men with equal or lesser qualifications.




                                                10
       Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 11 of 17



       48.     Walmart management has long known about gender disparities in promotion and

has failed to take appropriate remedial action. Walmart management thus had knowledge of the

promotion discrimination present in the stores over which it had oversight.

       49.     Every store, District and Region regularly compiles and reports to corporate

headquarters the gender composition of its hourly and managerial workforce, employee turnover,

exceptions to promotion policies, job posting data, entry into MIT programs, and other data.

District Managers, the RPM, and the RVP regularly receive these reports.

       50.     Walmart’s People Division regularly prepares reports for senior management

summarizing promotion and incumbency rates for store management positions by gender, and

reports are regularly made to the Board of Directors.

       51.     District Managers, the RPM, and the RVP normally visit stores regularly and are

aware of the gender composition of the workforce.

       52.     Senior management officials, senior People Division officials, and outside

consultants have warned Walmart that women are not sufficiently represented in management

positions, that women are paid less than male employees in the same jobs, and that Walmart lags

behind its competitors in the promotion of women to management positions.

       53.     These officials and consultants have also identified policies and practices at

Walmart that have an adverse impact on its female employees, including lack of consistent job

posting, the requirement of relocation as a condition of entry into and promotion through

management, reliance on stereotypes in making pay and promotion decisions, lack of objective

criteria for making promotion decisions, and lack of consistent and reliable scheduling for

management level employees.




                                                11
       Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 12 of 17



       54.     Walmart’s founder, Sam Walton, conceded in 1992 that Walmart’s policies,

particularly its relocation requirement, were an unnecessary barrier to female advancement, yet

this policy remained in place thereafter.

       55.     Senior Walmart managers also blocked policy changes that would have reduced

the impact of Walmart’s discriminatory policies, including posting of managerial vacancies.

       56.     Walmart had never studied or analyzed whether any of its practices were

consistent with business necessity or whether less discriminatory alternatives to these policies

and practices could be adopted.

Walmart Managers’ Reliance on Discriminatory Stereotypes

       57.     In the absence of job-related compensation criteria, Walmart’s managers in Store

Number 1439, and those supervising Store Number 1439, relied on discriminatory stereotypes

and biased views about women in making pay and promotion decisions.

       58.     A 1998 survey of Walmart managers revealed that there was a “good ol’ boy

philosophy” at Walmart, that many managers were “close minded” about diversity in the

workplace, and that some District Managers “don’t seem personally comfortable with women in

leadership roles.”

       59.     The findings of the 1998 survey echoed an earlier 1992 report by a group of

female Walmart management employees, who identified a number of concerns for women

employees, including the following: “Stereotypes limit the opportunities offered to women,”

“[c]areer decisions are made for associates based on gender,” “[a]ggressive women intimidate

men,” “men are interviewed as the replacements, women are viewed as support,” and “[m]en’s

informal network overlooks women.”




                                               12
       Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 13 of 17



       60.     All Walmart Store Managers have been required to attend training programs at the

company’s Walton Institute. These managers were advised at the Institute that the reason there

are few senior female managers at Walmart is because men were “more aggressive in achieving

those levels of responsibility” than women. Managers were cautioned that efforts to promote

women could lead to the selection of less-qualified women over more-qualified men.

       61.     On or about January 24, 2004, at a meeting of all Walmart District Managers

presided over by Walmart’s CEO Thomas Coughlin, the District Managers were told that they

were the key to running the stores: “You are the culture.” The key to success was described as

“single focus to get the job done. . . . Women tend to be better at information processing. Men

are better at focus single objective. Results driven.” The District Managers were instructed to

create a “culture of execution” and a “culture of results” as they picked “[f]uture leaders.”

       62.     In deciding which employees to promote as department managers ― hourly

positions which were often stepping stones into salaried management ― Store Managers in Store

Number 1439 would often consider women only for “female” departments, such as health and

beauty, jewelry, softlines, and the service desk.

       63.     Managers in Store Number 1439, and managers who supervised that store,

justified denying promotions to women or paying them less than their male employees because

of perceived family obligations of the women and male responsibility to support their families or

because of their presumed inability to relocate.

Walmart’s Ineffective Anti-Discrimination Efforts

       64.     For many years, Walmart had no meaningful policies or practices to hold

managers in, or managers supervising, Store Number 1439 accountable, financially or otherwise,

to equal employment and diversity policies and goals.



                                                    13
       Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 14 of 17



       65.     Starting in 2000, Walmart asked District Managers to set diversity “goals” for

advancement of women in management. The goals were based on each manager’s individual

views on what was attainable and were not tied to any objective measures of availability or

qualifications. Prior to 2004, failure to meet diversity goals had no financial or other

consequence for managers in, or managers supervising, Store Number 1439.

       66.     As late as 2003, Walmart CEO Coughlin was not aware of any diversity goals or

whether managers had met such goals. Many Store Managers were also unaware of the existence

of any diversity goals.

       67.     Until at least 2003, there had never been any diversity goals set for individual

stores, or for any compensation practices in Store Number 1439.

Ms. Williams’ Employment at Walmart

       68.     Ms. Williams began working as a Cashier at Walmart Store Number 1439 in

Washington, Utah in April of 2008.

       69.     Ms. Williams observed female employees, herself included, gettin paid less than

male employees with equal or less tenure and experience.

       70.     Ms. Williams’ starting wage was $8.60 per hour.

       71.     When she left Walmart in April of 2010, her pay was still only $9.70 per hour.

       72.     Men that were working in the same position as Ms. Williams with less

experience, were getting paid more than her.

       73.     Ms. Williams also observed Walmart give more promotional opportunities to

male employees than to female employees.

       74.     When Ms. Williams was hired, she spoke with multiple managers and expressed

her desire to enter management.



                                               14
          Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 15 of 17



          75.   Ms. Williams recalls speaking about this topic with her store manager, Kurt.

          76.   Kurt told Ms. Williams to take the computer-based management tests.

          77.   Ms. Williams took all of the tests available to her, she passed them all and

received good scores.

          78.   Once she completed the tests she reached out to Kurt again seeking a management

position.

          79.   Ms. Williams did not receive a promotion. Instead, Ms. Williams watched as the

men around her received the promotions she was qualified for.

          80.   Ms. Williams recalls a man named Jason who was promoted from Cashier to

management, even though he had less time and less experience at Walmart than Ms. Williams.

                                FIRST CLAIM FOR RELIEF
                           (Pay Discrimination in Violation Title VII)

          81.   Plaintiff realleges and incorporates by reference all paragraphs set forth above.

          82.   Over a time period spanning many years, including the time Ms. Williams worked

at Walmart, the company acted with deliberate indifference toward its obligation to make job

wage decisions without regard to gender.

          83.   Walmart repeatedly chose to pay males more than females because of their

gender.

          84.   Walmart refused to pay Ms. Williams in accordance with her male counterparts.

          85.   Walmart discriminated against Ms. Williams on the basis of gender and treated

her differently than a male employee.

      86.       As a result of the Walmart’s unlawful conduct in violation of Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-2, Ms. Williams is entitled to entitled




                                                 15
       Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 16 of 17



to damages, including lost wages; compensatory damages; emotional distress damages;

prejudgment interest; and attorneys’ fees and costs expended in this action.

       87.     Walmart’s unlawful conduct toward Ms. Williams was done with reckless

disregard for her federally protected rights, and as such, Walmart should be subject to punitive

damages as well.

                             SECOND CLAIM FOR RELIEF
                     (Promotion Discrimination in Violation of Title VII)

      88.      Plaintiff realleges and incorporates by reference all paragraphs set forth above.

      89.      Walmart is an extremely large employer with hundreds of employees in each store

and thousands of employees within the State of Utah.

      90.      Over a time period spanning many years, including the time Ms. Williams worked

at Walmart, the company acted with deliberate indifference toward its obligation to make

employment promotion decisions without regard to gender.

      91.      Walmart refused to promote Ms. Williams into a permanent position, instead

promoting a male employee with far less experience and lesser relevant credentials.

      92.      Walmart discriminated against Ms. Williams on the basis of gender and treated

her differently than a male employee.

      93.      As a result of the Walmart’s unlawful conduct in violation of Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-2, Ms. Williams is entitled to entitled

to damages, including lost wages; compensatory damages; emotional distress damages;

prejudgment interest; and attorneys’ fees and costs expended in this action.

      94.      Walmart’s unlawful conduct toward Ms. Williams was done with reckless

disregard for her federally protected rights, and as such, Walmart should be subject to punitive

damages as well.


                                                16
       Case 4:19-cv-00103-DN-PK Document 2 Filed 12/19/19 Page 17 of 17



       WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in her favor

and against Defendants, and award the following relief:

           a. For Plaintiff’s lost wages, compensation, and benefits;

           b. For compensatory damages;

           c. For general damages including emotional distress;

           d. For punitive damages;

           e. For Plaintiff’s reasonable attorneys’ fees, including expert witness fees as

              provided by 42 U.S.C. §1988 and 42 U.S.C. §2000e-5;

           f. For pre-judgment and post-judgment interest at the highest lawful rate;

           g. For costs of court and such other relief as the court deems just and equitable,



        PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.



              Dated this 19th day of December, 2019.

                                             STRINDBERG & SCHOLNICK, LLC


                                             /s/ Kass Harstad
                                             Attorneys for Plaintiff




                                                17
